                                                              United States Bankruptcy Court
                                                                  District of New Mexico
In re:                                                                                                                 Case No. 21-11322-kht
Joel Alan Gaffney                                                                                                      Chapter 7
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 1084-1                                                  User: admin                                                                 Page 1 of 1
Date Rcvd: Dec 02, 2021                                               Form ID: pdfor1                                                            Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Dec 04, 2021:
Recip ID                  Recipient Name and Address
db                      + Joel Alan Gaffney, 4200 Montgomery Blvd NE Apt 208, Albuquerque, NM 87109-1154

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Dec 04, 2021                                            Signature:           /s/Joseph Speetjens




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on December 2, 2021 at the address(es) listed
below:
Name                               Email Address
United States Trustee
                                   ustpregion20.aq.ecf@usdoj.gov

Yvette J. Gonzales
                                   yjgllc@yahoo.com yg@trustesolutions.net


TOTAL: 2




           Case 21-11322-kht7                  Doc 13          Filed 12/04/21              Entered 12/04/21 22:23:16 Page 1 of 3
                            UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF NEW MEXICO

  In re:   JOEL ALAN GAFFNEY,                                         No. 21-11322-kht7
           d/b/a Gaffney Law, PC,
           d/b/a American Income Life Insurance,

           Debtor.

           ORDER OF RECUSAL AND REASSIGNMENT OF BANKRUPTCY CASE
                        TO JUDGE KIMBERLEY H. TYSON

           A disqualifying circumstance requires recusal. Pursuant to the provisions of 28 U.S.C. §

  155(a) and the Judicial Counsel Plan for Temporary Transfer of Bankruptcy Judges adopted

  October 27, 1997, the Tenth Circuit Court of Appeals has designated the Honorable Kimberley

  H. Tyson, Chief Bankruptcy Judge for the District of Colorado, to serve temporarily as a

  bankruptcy judge in the United States Bankruptcy Court for the District of New Mexico on an

  “as needed” basis.

           WHEREFORE, IT IS HEREBY ORDERED that the Honorable Robert H. Jacobvitz

  recuses himself from any further proceedings in the above-captioned bankruptcy case.

           ORDERED FURTHER that this bankruptcy case is reassigned to the Honorable

  Kimberley H. Tyson, sitting by designation in the District of New Mexico. All future documents

  filed in this case should bear Judge Tyson’s initials in the case number as noted above.



                                                    ___________________________
                                                    ROBERT H. JACOBVITZ
                                                    United States Bankruptcy Judge

  Date entered on docket:    December 2, 2021




Case 21-11322-kht7       Doc 13     Filed 12/04/21     Entered 12/04/21 22:23:16 Page 2 of 3
  COPY TO:

  Joel Alan Gaffney
  4200 Montgomery Blvd NE Apt 208
  Albuquerque, NM 87109

  Yvette J. Gonzales
  Chapter 7 Trustee
  PO Box 1037
  Placitas, NM 87043-1037

  United States Trustee
  PO Box 608
  Albuquerque, NM 87103-0608




Case 21-11322-kht7    Doc 13   Filed 12/04/21   Entered 12/04/21 22:23:16 Page 3 of 3
